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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LEVI STRAUSS & CO.,                                )
                                                   )    Case No. 18-cv-01258
                        Plaintiff,                 )
                                                   )    Judge Manish S. Shah
       v.                                          )
                                                   )    Magistrate Judge Young B. Kim
2017SHARP, et al.,                                 )
                                                   )
                        Defendants.                )
                                                   )

                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Plaintiff Levi Strauss & Co. (“LS&Co.”), hereby dismisses this action without prejudice

against the following Defendants, with leave to reinstate within thirty (30) days. If Plaintiff does

not file a motion to reinstate within thirty (30) days, this dismissal will automatically convert to a

dismissal with prejudice of the following Defendants:

                Defendant Name                                          Line No.
             Daddy Chen Official Store                                     16
                Sunshine Rainbow                                           51
                 kozonhee Store                                            29
                Hi Goddess Store                                           24
                  Shop3107017                                              50
                  SheSay Store                                             48
                 prettyfairy0006                                           40
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Dated this 13th day of April 2018.   Respectfully submitted,


                                     /s/ Justin R. Gaudio
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                                     Justin R. Gaudio
                                     Jessica L. Bloodgood
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